Case 5:18-cv-00701-JGB-SP Document 50-1 Filed 10/31/18 Page 1 of 2 Page ID #:537




   1
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11            IN THE UNITED STATES DISTRICT COURT FOR THE
  12                    CENTRAL DISTRICT OF CALIFORNIA
  13                              EASTERN DIVISION
  14
  15 SECURITIES AND EXCHANGE                  Case No. 5:18-cv-00701
     COMMISSION,
  16
               Plaintiff,                     [PROPOSED] ORDER GRANTING
  17                                          DEFENDANT WALTON’S MOTION
         v.
  18                                          TO DISMISS THE SECOND
     PETER H. POCKLINGTON,                    AMENDED COMPLAINT
  19 LANTSON ELDRED, TERRENCE J.              PURSUANT TO FEDERAL RULE OF
     WALTON, YOLANDA C.
  20 VELAZQUEZ a/k/a LANA                     CIVIL PROCEDURE 12(b)(6)
     VELAZQUEZ a/k/a LANA PULEO,
  21 VANESSA PULEO, ROBERT                    Date: December 3, 2018
     VANETTEN, NOVA OCULUS                    Time: 9:00 a.m.
  22 PARTNERS, LLC, f/k/a THE EYE             Court: Courtroom 1
     MACHINE, LLC, and AMC                           Honorable Jesus G. Bernal
  23 HOLDINGS, LLC,
  24              Defendants,
  25 EVA S. POCKLINGTON, DTR
     HOLDINGS, LLC, COBRA
  26 CHEMICAL, LLC, and GOLD STAR
     RESOURCES, LLC.
  27
               Relief Defendants.
  28
                                     [PROPOSED] ORDER
Case 5:18-cv-00701-JGB-SP Document 50-1 Filed 10/31/18 Page 2 of 2 Page ID #:538




   1                                [PROPOSED] ORDER
   2        The Motion to Dismiss filed by Defendant Terrence J. Walton in this matter
   3 came before this Court on regularly-scheduled hearing on December 3, 2018.
   4        Having considered the moving and opposition papers, arguments, and all
   5 other matters presented to the Court, the Court finds that Plaintiff Securities and
   6 Exchange Commission (the “SEC”) has failed to state a claim upon which relief
   7 may be granted against Defendant Walton.
   8        IT IS HEREBY ORDERED that Defendant Walton’s Motion to Dismiss the
   9 Second Amended Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) is
  10 GRANTED without leave to amend.
  11        IT IS SO ORDERED.
  12
  13
  14
       DATED: ___________________
  15                                            HON. JESUS G. BERNAL
  16                                            UNITED STATES DISTRICT JUDGE
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                -2-
                                         [PROPOSED] ORDER
